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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,

                  Plaintiff,

      v.                                  Crim. Action No.: 1:21CR16
                                                        (Judge Kleeh)

HEATHER LYNN PRATT,

                  Defendant.

    ORDER ADOPTING MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
      CONCERNING PLEA OF GUILTY IN FELONY CASE [DKT. NO. 28],
       ACCEPTING GUILTY PLEA, AND SCHEDULING SENTENCING HEARING

      On April 30, 2021, the Defendant Heather Lynn Pratt (“Pratt”),

appeared before United States Magistrate Judge Michael J. Aloi and

moved for permission to enter a plea of GUILTY to Count One of the

Indictment, charging her with Fraudulent Concealment of Bankruptcy

Assets, in violation of Title 18, U.S.C., Section 152(1).                This

Court referred Defendant’s plea of guilty to the magistrate judge

for the purpose of administering the allocution, pursuant to

Federal Rule of Criminal Procedure 11, making a finding as to

whether    the   plea   was   knowingly   and   voluntarily   entered,   and

recommending to this Court whether the plea should be accepted.

Pratt stated that she understood that the magistrate judge is not

a United States District Judge, and Pratt consented to pleading

before the magistrate judge.
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      Based    upon    Defendant   Pratt’s    statements   during   the     plea

hearing    and   the    Government’s       proffer   establishing    that    an

independent factual basis for the plea existed, the magistrate

judge found that Defendant Pratt was competent to enter a plea,

that the plea was freely and voluntarily given, that she was aware

of the nature of the charges against her and the consequences of

her plea, and that a factual basis existed for the tendered plea.

The magistrate judge issued a Report and Recommendation Concerning

Plea of Guilty in Felony Case (“R&R”) [Dkt. No. 28] finding a

factual basis for the plea and recommending that this Court accept

Defendant Pratt’s plea of guilty to Count One of the Indictment.

      The magistrate judge released Defendant Pratt on the terms of

the Order Setting Conditions of Release. [Dkt. Nos. 6-3 and 17]

      The magistrate judge also directed the parties to file any

written objections to the R&R within fourteen (14) days after

service of the R&R.         He further advised that failure to file

objections would result in a waiver of the right to appeal from a

judgment of this Court based on the R&R.             Neither the Defendant

nor the Government filed objections to the R&R.

      Accordingly, this Court ADOPTS the magistrate judge’s R&R

[Dkt. No. 28], provisionally ACCEPTS Defendant Pratt’s guilty

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plea, and ADJUDGES her GUILTY of the crime charged in Count One of

the Indictment.

      Pursuant to Fed. R. Crim. P. 11(c)(3) and U.S.S.G. § 6B1.1(c),

the Court DEFERS acceptance of the proposed plea agreement until

it has received and reviewed the presentence investigation report

prepared in this matter.

      Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS the

following:

      1.    The   Probation   Officer     shall   undertake   a   presentence

investigation of Pratt, and prepare a presentence investigation

report for the Court;

      2.    The Government and Defendant Pratt shall each provide

their narrative descriptions of the offense to the Probation

Officer by June 4, 2021;

      3.    The presentence investigation report shall be disclosed

to Defendant Pratt, counsel for Defendant, and the Government on

or before August 3, 2021; however, the Probation Officer shall not

disclose any sentencing recommendations made pursuant to Fed. R.

Crim. P. 32(e)(3);

      4.    Counsel may file written objections to the presentence

investigation report on or before August 17, 2021;

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      5.     The Office of Probation shall submit the presentence

investigation report with addendum to the Court on or before August

31, 2021; and

      6.     Counsel may file any written sentencing memorandum or

statements     and   motions    for   departure    from    the   Sentencing

Guidelines, including the factual basis for the same, on or before

September 14, 2021.

      The Court further ORDERS that prior to sentencing, counsel

for Defendant review with her the revised Standard Probation and

Supervised Release Conditions adopted by this Court on November

29, 2016, pursuant to the standing order entered by Chief Judge

Groh, In Re: Revised Standard Probation and Supervised Release

Conditions, 3:16-MC-56.

      The Court will conduct the Sentencing Hearing for Defendant

on October 18, 2021, at 11:00 A.M., at the Clarksburg, West

Virginia point of holding court.          If counsel anticipates having

multiple witnesses or an otherwise lengthy sentencing hearing,

please notify the Judge’s chamber staff so that an adequate amount

of time can be scheduled.

      It is so ORDERED.




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      The Clerk is directed to transmit copies of this Order to

counsel of record and all appropriate agencies.

      DATED: May 25, 2021


                                    /s/ Thomas S. Kleeh
                                    THOMAS S. KLEEH
                                    UNITED STATES DISTRICT JUDGE




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